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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

  LUKE NGUYEN,

           Plaintiff,

  v.                                              Case No.: 3:21-cv-00173-MMH-MCR

  UNIVERSITY OF ST. AUGUSTINE
  FOR HEALTH SCIENCES, LLC,

        Defendant.
  _________________________________/

                          DECLARATION OF LINDSAY PERRY

           I, Lindsay Perry, pursuant to the provisions of 28 U.S.C. § 1746, hereby declare

  as follows:

           1.     I am over the age of eighteen. The facts stated in this Declaration are

  true of my personal knowledge and I could and would competently testify thereto if

  called upon to do so.

           2.     I am currently employed by the University of St. Augustine for Health

  Sciences (“USA”) as an Assistant Professor.

           3.     In January 2019, I served as the Chair of USA’s Academic Appeals

  Committee (“AAC”).

           4.     The AAC is committee of USA faculty members. In January 2019, the

  AAC consisted of the following members: me, Bonnie Rogulj, Matt Daugherty, Amy

  Herrington, Eric Sarrett, and Jennifer Crowder.




  {00409739 1 }
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           5.     I attended the January 10, 2019 meeting in which the AAC heard Luke

  Nguyen’s (“Nguyen”) appeal of his dismissal from USA’s Flex DPT Program for

  earning an “F” in PHT5113C 001 Musculoskeletal II - Mock Clinic.

           6.     Attached hereto as Exhibit A is a true and correct copy of the Meeting

  Minutes from the January 10, 2019 AAC Meeting (“Minutes”). The Minutes are a

  true and correct representation of what occurred at the January 10th AAC meeting.

           7.     During the AAC meeting, Nguyen stated that upon being unsuccessful

  on his Mock Clinic final practical exam he chose not to complete the plan of care due

  to not having enough points to pass the course.

           8.     The AAC discussed and reviewed Nguyen’s academic progress and

  unanimously determined he was not performing up to USA’s standards. The decision

  was made after discussion and careful consideration and was based on a number of

  academic and professional concerns.

           9.     Attached hereto as Exhibit B is a true and correct copy of the email

  communication I sent to Flex DPT Program Director, Dr. Debra Gray, on January

  12, 2019. Upon review of Exhibit B, I determined there were scrivener’s errors related

  to the dates in my January 12, 2019 letter Dr. Gray. Specifically,

      • the letter is dated January 12, 2018 and should be dated January 12, 2019;

      • the letter states that the AAC met on January 10, 2018. The AAC met on
        January 10, 2019;

      • the letter states that Nguyen received an F in Fall 2019, the letter should state
        Nguyen received an F in Fall 2018.


  {00409739 1 }                               2
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           10.    The AAC voted unanimously to recommend to Dr. Gray that Nguyen’s

  dismissal from USA’s Flex DPT Program be upheld.

           11.    I declare under penalty of perjury under the laws of the United States of

  America that the foregoing is true and correct.



                              9
           Executed on August ___, 2022 in St. John’s County, Florida.




                                                               LINDSAY PERRY




  {00409739 1 }                                3
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                        Exhibit A
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         n H
          ®           UNIVERSITY                          OF       ST. AUGUSTINE
                                                     A
                                                                         S   C    I   E   N    C    E    S

                                ACADEMIC APPEALS COMMITTEE MEETING
                                      Thursday, January 10, 2019

   Committee:           Dr. L. Perry, Chair                            Dr. A. Herrington (via Zoom)
                        Dr. J. Crowder (via Zoom)                      Dr. B. Rogulj
                        Dr. M. Daugherty                               Mr. E. Sarret

  Luke Nguyen, Flex DPT student, was dismissed from the University for earning a failing grade of F in
  PHT5113C 001 Musculoskeletal II - Mock Clinic.

  By telephone, Dr. Perry explained to Mr. Nguyen that the purpose of the meeting was for the committee to
  analyze all aspects of his situation to arrive at the best determination for both him and the University. Dr. Perry
  further explained that his transcripts and grades are also reviewed during this process. All factors are
  considered and following a discussion with him, the committee comes up with a recommendation to the
  program director. She asked Mr. Nguyen to briefly explain what happened as far as his poor performance and
  what his plan is to make sure it doesn’t happen again.

  Mr. Nguyen admitted that he did not do well on his mock clinical mid-term practical. He said that due to
  running out of time and only reaching step 7 of 18 he did not gather all the needed data to complete his
  practical. He was under the impression he was not allowed to ask the mock patient for the data or speak to
  the faculty with questions to clarify. He admitted to having misconceptions relative to execution of the exam
  for the course. He reported he discussed the practical exam with classmates when he told them he was
  being “thrown out” of the program and that is how he discovered he misunderstood about gathering the
  data for the completion of the exam.

  Dr. Perry asked Mr. Nguyen to provide additional details related to his appeal from the course instructor
  concerning his grade. Mr. Nguyen quoted the student handbook saying the stated process is to first speak
  with the course instructor to appeal the grade. He said he also went to Dr. Gray, the program director, with
  his appeal and is waiting for her response.

  Mr. Nguyen shared that his anti-anxiety medication has tripled while taking this course and reported this has
  helped him.

  Dr. Crowder asked what Mr. Nguyen will do better next time to avoid experiencing a similar situation. He said
  after his mid-term he implemented a lot of time management strategies for each class so he is not ground in a
  single subject. Addressing his mental health, he will work closely with his mental health advisor regularly. Mr.
  Nguyen also stated that he will utilize tutors to help him with his studies if he is allowed to return to the program.

  Dr. Rogulj questioned Mr. Nguyen relative to his discussions with classmates during practical examinations,
  pointing out that is a violation of academic integrity. He admitted to speaking with his classmates about the
  midterm and he learned from it and will not repeat that behavior if he returns. He added that he has quit his
  job which will provide more time for him to complete his studies and be successful in completion of the NPTE
  exam.

  Dr. Perry explained to Mr. Nguyen that the committee will send their recommendation to Dr. Gray who will
  contact him with her final decision within the next few days. Mr. Nguyen was advised to resume his schedule
  if he does not hear prior to Monday when classes begin.

  The committee recommendation was to uphold the dismissal based on the following reasons:
    • Concerns based on display of decreased self-awareness, professional integrity, and academic integrity
        based on behaviors related to this dismissal.
    • Downward trend in academic performance from term to term demonstrating a pattern of being
        provided with information and advice but not being actionable to make meaningful change in
        performance
                                                                                                      USA/Nguyen 001155
Case 3:21-cv-00173-MMH-MCR Document 53-3 Filed 08/10/22 Page 6 of 31 PageID 554
                                                                                                      011019 Nguyen appeal
   •   Concern for emotional dysregulation as reported in the academic appeal report of argumentative
       behavior, thus demonstrating unprofessionalism
   •   Lack of immediate accepting of responsibility of his own performance leading to dismissal, rather
       described factors that contributed to the experience.
   •   Lack of seeking clarification when misunderstanding directions, thus making decisions on assumptions,
       thus demonstrating lack of proactive and resourceful behaviors.




                                                                                                             USA/Nguyen 001156
       1 UNIVERSITY BOULEVARD - ST. AUGUSTINE, FL 32086-5783 - (904) 826-0084 - FAX (904) 826-0085 - WEBSITE: www.usa.edu
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                        Exhibit B
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From:                                                     Lindsay Perry
Sent:                                                     Saturday, January 12, 2019 10:06 PM
To:                                                       Debra Gray
Subject:                                                  Appeal for Mr. Ngyuen
Attachments:                                              Appeal Letter Nguyen Spring 2019.docx; Nguyen, Luke 103891.pdf


Hi Dr. Gray,
Please find the recommendation for dismissal for Mr. Ngyuen and his appeal packet.
Please let me know if you need anything else.
Thanks,
Lindsay

Lindsay A. Perry, PT, DPT, NCS
Assistant Professor
Board Certified Specialist in Neurological Rehabilitation

Office: 904-770-3613
Fax: 904-827-0069
Email: lperry@usa.edu

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               *
1 University Blvd.
St. Augustine, FL 32086
Website: www.usa.edu




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January 12, 2018

Dr. Debra Gray
Doctor of Physical Therapy Flexible Program

Re: Luke Ngyuen

Dear Dr. Gray

The Academic Appeals Committee met January 10, 2018 to discuss the appeal by Mr. Ngyuen, an entry
level Flexible DPT program student, who was dismissed from the University for academic reasons. The
committee has reviewed the academic file, reviewed academic appeal from the course for which he was
unsuccessful, reviewed his appeal letter and met with Mr. Ngyuen vis a phone call.

In Fall 2019 Mr. Ngyuen received an F in the following courses:
           • PHT 5 133 C 001

Mr. Ngyuen was provided opportunity to appeal his case before the appeals committee. In doing so he
reported several points related to this dismissal, one being that he is still awaiting to hear from the
program director about his appeal for the midterm grade that contributed to his poor academic
performance. In his explanation of receiving a 29% on the practical examination he reported he ran out
of time and due to misunderstanding of his ability to have gathered data needed to be successful with the
plan of care he was unable to successfully complete the exam. Upon being unsuccessful of his final
practical exam he chose not to complete the plan of care due to not having enough points to pass the
course. Throughout his explanation he reported he spoke with classmates about his dismissal from the
program for receiving an F and when asked why discussed his experience with the practical exam. Mr.
Ngyuen was asked by the committee about his knowledge regarding academic integrity and if he knew
the policy that there is to be no discussion of practical examinations with other students, and he said yes.
He admitted he was wrong to have done this and took responsibility for his actions. When asked why he
perceived he was unable to finish his exam he reported lack of time management. He also stated he was
beginning to implement new strategies, but it was too late. Lastly Mr. Ngyuen mentioned anxiety being
a factor in contributing to his poor performance. He reported seeking accommodations from Ryan Davis
but was informed he would not be allowed to have them on practicals due to needing to replicate real-
life experiences.

Discussion amongst the committee included the review of his academic record, the appeal forms from
the faculty, his appeal letter and his verbal statements. After careful consideration, the committee voted
6 for dismissal from the Flexible DPT program:
    • Concerns based on display of decreased self-awareness, professional integrity, and academic
        integrity based on behaviors related to this dismissal.
    • Downward trend in academic performance from term to term demonstrating a pattern of being
        provided with information and advice but not being actionable to make meaningful change in
        performance
    • Concern for emotional dysregulation as reported in the academic appeal report of argumentative
        behavior, thus demonstrating unprofessionalism




                                                                                      USA/Nguyen 001115
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   •   Lack of immediate accepting of responsibility of his own performance leading to dismissal,
       rather described factors that contributed to the experience.
   •   Lack of seeking clarification when misunderstanding directions, thus making decisions on
       assumptions, thus demonstrating lack of proactive and resourceful behaviors.

Respectfully,

Lindsay Perry- Chair Academic Appeals Committee

Bonnie Rogulj- Committee Member
Matt Daugherty- Committee Member
Amy Herrington – Committee Member
Eric Sarrett – Committee Member
Jennifer Crowder- Committee Member




                                                                                 USA/Nguyen 001116
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   From:            RegistrarForwarder
   To:              Lindsav Perrv: Brooke Nelson
   Subject:         FW: Dismissal Appeal Correspondence
   Date:            Thursday, January 3, 2019 8: 10:27 AM




   From: Luke Nguyen
   Sent: Wednesday, January 2, 2019 11:58 PM
   To: Registrar _Forwarder <registrar @ usa .edu>
   Subject: Dismissal Appeal Correspondence



   To the Registrar and whom it may concern,

   On December 21st, 2018, 1 was sent a notice of dismissal from the University of Saint
   Augustine based on my final grade obtained in PHT 5133 C001 from the fall semester of
   2018. As directed by that e- mail and under the USA Student Handbook , I am formally writing
   for a request of appeal of this decision.

   As of December 26lh, I am awaiting pending consideration of an appeal for the class’ midterm
   and allowance to complete the remainder of its curriculum due to miscommunication about the
   scope of the testing environment that put me in a unique disadvantage: where I was only given
   one opportunity to demonstrate my fitness as a physical therapist in terms of patient evaluation
   and clinical decision making.

   Regardless of outcome, I could have passed the final practical on the first try which is
   representative of working in the profession. By reaching out to my professors, advisor, and
   peers, streamlining my time management skills to better suit my learning style, I have
   improved significantly through the term and acquisition of new opportunities to succeed, these
   strategies were implemented too late in the semester to meet the expectations of the University
   of Saint Augustine.

   If given the opportunity to return to the program, I plan to utilize these newly learned skills.
   My family and friends have also made concessions to allow me to prioritize more towards the
   completion of this program. I also intend to use more university resources such as tutoring
   since I live within driving distance of the campus. In addition , I have already put a plan into
   place to maintain my mental health with new coping strategies, counseling, and medication
   ( last term my anti -anxiety medication dose was being modified and was ultimately tripled on
   December compared to the beginning of the term ). I have been in communication with the
   Student Disability Services Manager Ryan Davis to coordinate with my psychiatrist for
   appropriate testing accommodations while still being accountable to the University highest
   standards.

   I hope that that in writing this letter that I be given another opportunity to show my growth as
   a professional physical therapist to reflect the University of Saint Augustine’s commitment to
   clinical excellence. I look forward to your response and presentation of my case before the
   academic appeal committee.



                                                                                   USA/Nguyen 001117
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   Respectfully,
   Luke Nguyen, SPT
   University of Saint Augustine, Flex DPT Program

   Sent from Mail for Windows 10




                                                               USA/ Nguyen 001118
                                  Case 3:21-cv-00173-MMH-MCR Document 53-3 Filed 08/10/22 Page 13 of 31 PageID 561
                                                                                     University of St. Augustine for Health Sciences
         ID : 103891
      Name : Luke Nguyen
   Address :


                                                                                                                                                                                                  Print Date: 1/8/2019

First Professional Division                                                                                 First Professional Division
     Advisors : Debra Lynn Gray                                                                                  Advisors : Debra Lynn Gray



    Course Number      Title                  CR Type Gra Rpt         Att Ernd HGpa Q.Pts         GPA           Course Number      Title                  CR Type Gra Rpt     Att Ernd HGpa Q.Pts           GPA

2015-2016 Academic Year : Pre Summer Start-Spring                                                           2016-2017 Academic Year : Spring




    NSO 5000           New Student Orientation       PF   NG         0.00   0.00   0.00    0.00                 HSC 5700           Wellness and Prevention in LT    B+   R   3.00   3.00   3.00    10.50
                                                     Term Totals :   0.00   0.00   0.00    0.00 0.0000          HSC 5800           Gerontology                LT    A        3.00   3.00   3.00    12.00
                                                 Career Totals :     0.00   0.00   0.00    0.00 0.0000                                                       Term Totals : 6.00 6.00 6.00          22.50 3.7500
                                                                                                                                                            Career Totals : 23.00 23.00 23.00      77.00 3.3478
2015-2016 Academic Year : Summer
                                                                                                            2016-2017 Academic Year : Summer



    HSC   5003         Critical Thinking I           LT   A          1.00   1.00   1.00    4.00
    HSC   5010         Scientific Inquiry            LT   B+         1.00   1.00   1.00    3.50                 HSC 5122C          Biomechanics                LT   B+   R   4.00   4.00   4.00    14.00
    HSC   5100C        Applied Human Anatomy         LT   C+         4.00   4.00   4.00   10.00                 HSC 5416           General Pathology           LT   A    R   3.00   3.00   3.00    12.00
    HSC   5213C        Skills and Procedures         LT   B          4.00   4.00   4.00   12.00                 PHT 5405           Psychosocial & Ethical Aspe LT   A        3.00   3.00   3.00    12.00
    HSC   5741C        Applied Medical Physiology    LT   B+         4.00   4.00   4.00   14.00                                                              Term Totals : 10.00 10.00 10.00 38.00 3.8000
    PHT   5006C        Massage and Soft Tissue P     LT   B          1.00   1.00   1.00    3.00                                                             Career Totals : 33.00 33.00 33.00 115.00 3.4848
    PHT   5802         Physical Therapist Practice   LT   A          2.00   2.00   2.00    8.00
                                                  Term Totals : 17.00 17.00 17.00         54.50 3.2058      2017-2018 Academic Year : Fall
                                                 Career Totals : 17.00 17.00 17.00        54.50 3.2058

2016-2017 Academic Year : Fall
                                                                                                                HSC 5151C          Clinical Neurosciences      LT   C        5.00   5.00   5.00    10.00
                                                                                                                PHT 5225C          Physical Modalities/Integum LT   B    R   4.00   4.00   4.00    12.00
                                                                                                                                                             Term Totals : 9.00 9.00 9.00 22.00 2.4444
    HSC   5122C        Biomechanics                  LT   W          0.00   0.00   0.00    0.00                                                             Career Totals : 42.00 42.00 42.00 137.00 3.2619
    HSC   5416         General Pathology             LT   W          0.00   0.00   0.00    0.00
    HSC   5700         Wellness and Prevention in    LT   W          0.00   0.00   0.00    0.00             2017-2018 Academic Year : Spring
    PHT   5132C        Musculoskeletal I: Orthopa    LT   W          0.00   0.00   0.00    0.00
    PHT   5225C        Physical Modalities/Integum   LT   W          0.00   0.00   0.00    0.00
    PHT   5234C        General Therapeutic Exerci    LT   W          0.00   0.00   0.00    0.00
                                                  Term Totals : 0.00 0.00 0.00             0.00 0.0000          PHT 5132C          Musculoskeletal I: Orthopa LT    C+   R   4.00   4.00   4.00    10.00
                                                 Career Totals : 17.00 17.00 17.00        54.50 3.2058          PHT 5234C          General Therapeutic Exerci LT    C    R   4.00   4.00   4.00     8.00
                                                                                                                                                             Term Totals : 8.00 8.00 8.00 18.00 2.2500
                                                                                                                                                            Career Totals : 50.00 50.00 50.00 155.00 3.1000


Page : 1 of 2
                                                                                                                                                                                    USA/Nguyen 001119
                                  Case 3:21-cv-00173-MMH-MCR Document 53-3 Filed 08/10/22 Page 14 of 31 PageID 562
                                                                                University of St. Augustine for Health Sciences
         ID : 103891
      Name : Luke Nguyen
   Address :


                                                                                                                                          Print Date: 1/8/2019

First Professional Division
     Advisors : Debra Lynn Gray



    Course Number      Title                  CR Type Gra Rpt    Att Ernd HGpa Q.Pts         GPA

2017-2018 Academic Year : Summer




    HSC   5142         Child Development             LT   A     3.00   3.00   3.00   12.00
    PHT   5143C        Neuromuscular I: Concepts     LT   B     3.00   3.00   3.00    9.00
    PHT   5236C        Therapeutic Exercise II       LT   C+    3.00   3.00   3.00    7.50
    PHT   5805         Physical Therapist Practice   LT   B+    2.00   2.00   2.00    7.00
                                                 Term Totals : 11.00 11.00 11.00 35.50 3.2272
                                                Career Totals : 61.00 61.00 61.00 190.50 3.1229

2018-2019 Academic Year : Fall




    HSC   5351         Pharmacology                  LT   A     2.00   2.00   2.00    8.00
    PHT   5133C        Musculoskeletal II: Mock C    LT   F     3.00   0.00   3.00    0.00
    PHT   5702C        Prosthetics                   LT   A     1.00   1.00   1.00    4.00
    PHT   5713C        Cardiovascular & Pulmonar     LT   B     2.00   2.00   2.00    6.00
                                                 Term Totals : 8.00 5.00 8.00 18.00 2.2500
                                                Career Totals : 69.00 66.00 69.00 208.50 3.0217
                                       Division Career Totals : 69.00 66.00 69.00 208.50 3.0217
Degree Information :
 (1) 'Doctor of PhysicalTherapy' Date Conferred :
   Major(s)
       Physical Therapy
End of Academic Record




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                                                                                                                                  USA/Nguyen 001120
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   From:              Diane Rondinelli
   To:                Luke Nauven
   Subject:           Notice of Dismissal
   Date:              Friday, December 21, 2018 1:41:00 PM
   Attachments:       imaQe002.pnQ



         USALOGO

                                                             0


   December 21, 2018


   Via Email
   I .neuven4 @ usa.edu

   Student: Nguyen 103891
   ID :


   Subject: Notice of Dismissal

   Dear Nguyen,

   The University of St. Augustine for Health Sciences holds every student to high standards. I regret to inform
   you that your academic performance has not met the requirements for continued progression in the degree
   program.

   As stated in our student handbook , any student who receives two grades of a D in one trimester, an F in any
   course, or a second D in the program will be dismissed from USAHS. If you do not believe your grade is
   correct, you may appeal your grade to your instructor. Please refer to the process in the Student Handbook.
   Based on your final grade (s) for the following courses, you have been dismissed:
                                                 PHT 5 133 C 001

   If you would like to appeal this decision, please refer to the Student Handbook to learn about the process. If
   you choose to appeal , you must email your appeal letter within 2 business days of this dismissal letter
   ( 01/ 03/ 2019 ). All appeal correspondence should be emailed to registrar @ usa.edu. Should you choose to
   appeal, once 1 receive your letter and get confirmation from the academic appeal committee, 1 will email you
   the date and time of the appeal meeting. The next scheduled appeal meeting is 01/10 / 2019.

   Sincerely,
   Diane Rondinelli - Registrar
   registrar @ usa .edu
   904-826- 0084. ext. 1600

   cc:    Program Director
          Financial Aid
           Bursar
           Student File
           Student Advisor
   SA: Cynthia Edwards - cedwardsl @ usa .edu : MI :     Juliet Henry- Pitter - jhenrypitter@ usa.edu:

                                                                                                   USA/ Nguyen 001121
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   AU: Kailyn Cannata – kcannata@usa.edu; SM: David Schoenherr – dschoenherr@usa.edu
   MHA/MHS: Sherrie Jensen – sjensen@usa.edu; PP OTD/DPT/EdD: Frank Bennett – fbennett@usa.edu
   Nursing: Rob    




                                                                                   USA/Nguyen 001122
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                    UNIVERSITY                  OF    S T . AUGUSTINE

                            Instructor Academic Appeal Report
    Course:                                       Instructor:
    Student Name/ID:     luM       MH0.
    Final Grade:        F
    All course grades ( please comment on grade weighting if applicable ):
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       •
       •
           Exams
           Qmases-          imBr /MHL 731 ./w^/Jjie
                                               7M? Mtf*     -
       •
       •
           Practical*
           Assignments (S ). t>   %
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                                                                                -
                                                                                    *)               =0 4
    Student meetings: ( ie did the student meet with you ? If so how often , what was the
    outcome?

        Ifirt t              dfW                                              pnir /7
        ihe tol

   Professional Behavior Comments :




   Excused absences( # ):              Unexcused ( # ):              Tardiness ( # ):

   Additional Comments/Concerns/Extenuating Circumstances ( sickness, family issue, etc .. . ):

     WHil Imt                                                    * Tiwl
                                                                ft




   Please complete this form and send to appeals committee chair and registrar by the
   Thursday prior to semester break .




                                                                                        USA/Nguyen 001123
Case 3:21-cv-00173-MMH-MCR Document 53-3 Filed 08/10/22 Page 18 of 31 PageID 566


                                                                             LuUtyuuW
  After the midterm feedback was given, I sat and chatted with the student about his
  performance. He stated that he knew he did not do well on the midterm and has been doing
  everything in his power to improve his performance. He showed me his organizational items for
  studying and verbally indicated he had been on campus practicing his techniques .

  The student was instructed to calculate his final grade to see if it was mathematically possible to
  pass the course . The student said he was going to talk to his wife as well. He indicated at this
  time he was aware he was missing a few assignments for the course and stated he would turn
  them in.

  I talked the student about his options of withdrawing and entering the new curriculum. I
  encourage the student to reach out to his adviser as well. Entering the new curriculum with add
  approximately one year to his schooling. We talked about if he continued in the course and was
  not successful on the final practical or plan of care that he would receive an F in fail the course.
  One F at the University would mean that he would be dismissed and if he chose to, he could go
  through the appeals process. The student decided to stay on the course.

  The day prior to our final exam I received a phone call from the student. He was having a
  medical issue and did not believe he be able to take the Practical on the next day. He saw his
  medical doctor and a specialist. He had a doctor's note to verify that he was under their care. I
  did reach out to him to check on him, and he was grateful for the extension of the practical.

  I met with a student in person the following week to discuss but upcoming practical and answer
  any questions he had.

  Student took his final practical with the retake students. After his practical, he wanted to know
  his score as he told myself and his grader that if he did not pass, there was no reason to write
  the plan of care because he would fail the course. The grader added up the Practical score, and
  it was not a passing score. The grader gave objective feedback to the student based on his
  performance.

  The student declined to write the plan of care and became emotionally upset. He kept repeating
  “I did everything I could” -

  The student was visibly upset and very emotional. He became slightly argumentative about the
  feedback he received from his practical.

  Student gathered his belongings and I escorted him to Dr. Gray's office.




                                                                                    USA/Nguyen 001124
                         .
                     •r ii;
                          UCENT GLOBES MUST BE VISIBLE
                   Case 3:21-cv-00173-MMH-MCR          FROM BOTH
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                                                              53-3     OF TRANSCRIPT
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                     THE UNIVERSITY OF WEST FLORIDA
                                           C&RCB OF THE REGISTRAR                                             ACADEMIC TRANSCRIPT
                                           11000 UNIVERSITY PARKWAY
                                         PENSACOLA, FLORIDA 32514-5750
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                                                  (850) 474 2244
                                                                                                                                                        Page: 1
             Record of: LukePhuoc Nguyen                                                                   Student Number: 970031133
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                                                                                                              Date of Birth:
            Issued To: OFFICE OF ADMISSION                                                                      Residency: FL Resident
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                                                         OFFICE OF THE REGISTRAR
                                                        11000 UNIVERSITY PARKWAY
                                                      PENSACOLA, FLORIDA 32514 - 5750
                                                      (850) 474 - 2244 FICE CODE 003955
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Calendar
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Prior to Fall 1981 . credits at the University of West Florida were awarded
                                                                              converted to semester hours
was awarded in semester hours . All of the hours on this transcript have been

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Classification of Courses
        1000- 2000                  Freshman and Sophomore Level
        3000-4000                   Junior and Senior Level
        5000-6999                   Master ' s Level
         7000- 7999                 Specialist Level
         8000- 8999                 Doctoral Level

 Repeated Course ( R Column)                                                                included in GPA calculations
       A Include GPA       Course has been repeated and is excluded from earned hours , but
                                                                                                  calculations
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 Academic Standing                                                                                    or suspension . *
      Good Standing                 Student has met minimum GPA standards and is not on probation
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          Academic                     Student has not achieved the minimum cumulative GPA during
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          Reinstatement                Student has been reinstated after being away from the Universi
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               Record of: Luke Phuoc Nguyen                                                 Student Number: 970031133
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Repeated Course (R Column)                                                               included in GPA calculations
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         i      Include         has been repeated and is included in earned hours and GPA calculations
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      Good Standing                  Student has met minimum GPA standards and is not on probatio
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      Academic Warning               Applies only to students who have less than 30 sh (GPA hours
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                                     may not be making satisfactory progress
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         Academic                    Student has not achieved the minimum cumulative GPA during
             Suspension              is not eligible to register . *

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             Reinstatement           Student has been reinstated after being away from the University
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                                     Students who are reinstated are considered to be on probation
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IS&Ul SOUTH FLORIDA                           Case 3:21-cv-00173-MMH-MCR Document 53-3 Filed 08/10/22 Page 23 of 31 PageID 571
                                                                                        Student No:                    Date of Birth:                               Date Issued: 09 /30/2015
                                                                                        Record of: Luke   Nguyen                                                   0 F F X C I ALL
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                                                                                      Withdrew from course before academic penalty deadline
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                                                                                        Student No:                             Date of Birth:                              Date Issued .          09/30/2015
                                                                                        Record of. Luke        Nguyen                                                       O F F I C I A L
                                                                                                                                                                             Page: 2


 U&iversity of West Florida
 Fall 2003                                                                                                     University of West Florida
                                                                                                               Fall 2004
                                                                                CRED GRJD         Q.P , R                                                                        CRED (3RD         O P.    R
 BSC 1010            General Biology                                            3.00 C                               "
                                                                                                  6.00         DEP       4401    Adulthood
 BSC 1010L
 CLP 3144
 INP 3004
                     General Biology Lab
                     Abnormal Psychology
                     industrial Psy
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 PCX) 2202 l         Intro To Gen Coun
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 University of West Florida
 Spring 2004                                                                                                   University of West Florida
                                                                                                               Spring 2005
                                                                                CRED GRD          Q.P. R
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 DEP 3103 Child Development                                                     3.00 B-           8.01         DEP 4304
 BXp  3082 Experimental Psych                                                                                                    Psy Of Adolescence                             3.00 B             9.00
                                                                                3.00 D            3.00         SOW   3103        Hum Behav/Social Env
   Completed 68 Community Service Hours                                                                                                                                         3.00 A            12.00
 EXP 3082L Exp Psych Lab                                                                                       SOW   3203        Intro To Social Wk                             3.00 A
                                                                                3.00 B+           9.99                                                                                            12.00
 PHI 2603 Ethics In Contern sac                                                                                SOW   4700        Drug Abuse                                     3.00 B+
                                                                                3.00 A-          11.01                                                                                             9.99
 SLS 1990 Intro To Diversity                                                    2.00 A
 SLS 2&k 8 Service Lmg 1                                                                          8 00                          GPA. 3.58    Ehrs-t     12.00 GPShlis: 12700
                                                                                1.00 A            4.00                                                                                           42.99
                  GPAf 2.93           Ehrs ?                                                                     Enrolled Non-Degree Seeking
                                                  15.00        GPAhrS     -
                                                                               15.?T0        44.01             Summer 2005                                                   05/16/2005          - 08/12/2005
Summer 2004
No College Designated
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  Enrolled Non Degree Seeking-
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           ^                                 Case 3:21-cv-00173-MMH-MCR Document 53-3 Filed 08/10/22 Page 27 of 31 PageID 575
                                                                                       Student No:
                                                                                       Record of: Luke        Nguyen
                                                                                                                             Date of Birth:                              Date Issued: 09/30/2015
                                                                                                                                                                         O F F I C I A L
                                                                                                                                                                         Page: 3


  University of West Florida
                                                                                                               Spring 2012
  Fall 20OS
                                                                                                               Arts aad Sciences
                                                                                                               Pre- Medical Sciences
                                                                                                                                                                            01/09/2012
                                                                                                                                                                                             - 05/04/2012
                                                                                CRED GRD         Q.P. R
  PCO  4310 Intervent/Addictions               3 00 B
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    93-980 To Transmit 'Kira Information To Third
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                                                                                                               BSC 2010L                                                                        6.00
    Parties Without The Written Consent Of The Studen                                                                        T Biology   I Cellular Proc Lab                  1.00 A            4.00
  PRM 2444 Shotokan Karate                            t                                                        CHM 2045      T General   Chemistry I
                                               1.00 NG   0.00                                                  CHM 2045L                                                      3.00 B            9 OC
  PSY 2023 Careers In Psych                                                                                                  T General   Chem I Laboratory                    1 00 A+           4.00
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  SOW 3620 Pracfc W/C& Biv Pqpu                3.00 A   12.00                                                                GPA: 2.87   Bhrs7       ¥755
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    Bacea1aureate Psychology
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   Admitted Post Baccalaureate Standing                                                                       Pre-Medical Sciences
 Spring 2011
 Arts and Sciences
                                                                            01/10/2011      - 05/06/2011                                                                      CRED GRD          Q.P. R
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 Pre Medical Sciences
                                                                                                              BSC    2085    T A n a & Phy I for Hlth Prdf                    3.00    A       12 00
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                                                                                                              BSC    2085L   T Ana & Phys Lab for HifehProf                   1.00    B
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                                                                                                                             T General Chemistry II                           3.00    A       12.00
 DEf 2104  tf The Life Cycle f     ' " " ""                                                                   CHM    2046L   T General Chem II Laboratory                     1.00    A
                                            3.00 A-                                             11.01                                                                                           4.00
 PHY 2053 T General Physres l               3 .00 B
 PHY 2053L T General Physics Laboratory I                                                        9.00                       GPA: 3.87    Ehrs:      8.00      GPAhrs: 8.00
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          GPA. 3.43 l s7 TTW GPAhrSl T7o5

           2011
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 Arts and Sciences                                                         0 8/2 2          -   12/09/2011
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 Pre Medical Sciences                                                                                                                                    CRED GRD  Q.P. R
                                                                                                              BSC 2096 t Aoaitomy Phy II for Hlth Prof   3.0C A   12.00
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                                                                                                              CHM 2210 T Organic Chemistry I                       4.00
 PR? 2054 T General Physics li      *
                                                B-                                                                                                       3.00 B    8.01                -
 PHY 2Q54L T General Physics Laboratory II 3.00
                                           1.00 A
                                                                                             8.01
 P&Y 2012 T Intro to Psych Science                                                           4.00                      GPA: i.43 Ehrs: ~Tlr0           j 7.00     24.01
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           2023     T Introductory Statistics I                               4.00 B+       13.32             ********************* CONTINUED ON PAGE                   4    *********************
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                                                                                        Student No:               Date of Birth ?                            Date Issued:           09/30/2015
                                                                                        Record of: Luke Nguyen                                               O F F I C I A L
                                                                                                                                                             Page: 4


  Spring 2014
  Arts and sciences                                                       01/06/2014             -   05/02/2014
  Pre- Medical Sciences

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 HflC 4537 T Medical Terminology
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 Sprang 2015
 Art'S and Sciences                                                      01/OS/2015              - 05/01/2015
       -
 Pre Medical Sciences

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 SPC 2608
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                     GPA: 3.67       Rhrs:        3.00       GPA&rs:
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Tampa, FI 33620
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                               Case 3:21-cv-00173-MMH-MCR Document 53-3 Filed 08/10/22 Page 31 of 31 PageID 579




NGUYEN , LUKE GRE SCORES

REF NUMBER : 0067 01 0227 09302015

VERBAL : 154
QUANTITATIVE : 150
WRITTEN : 3.5

ACCUMULATIVE : 304




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